                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION (DETROIT)


In re:

HEITMANN, Brandon L.,                                 Chapter 7
                                                      Case No. 24-41956-mar
              Debtor.                                 Hon. Mark A. Randon
                                      /

               TRUSTEE’S MOTION FOR APPROVAL OF
                  SALE OF PERSONAL PROPERTY

         NOW COMES Douglas S. Ellmann, Trustee, through his counsel,

Morris & Morris Attorneys, P.L.L.C., and hereby moves, pursuant to

11 U.S.C. § 363 and Fed. R. Bankr. P. 6004, for the entry of an order

approving his proposed sale of various items of non-exempt or partially

exempt personal property to Amanda Heitmann. In support of his

motion, the Trustee states as follows:

         1.   A proposed order granting the relief sought in this Motion is

attached hereto as Exhibit “1”.

         2.   A Notice of Opportunity Regarding Trustee’s Motion for

Approval of Sale is attached hereto as Exhibit “2”.

         3.   A brief in support of this Motion is not required; therefore,

no brief is attached.


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     4.    The Sale Agreement (“Sale Agreement”) which is the subject

of this motion is attached hereto as Exhibit “3”.

     5.    A Certificate of Service showing service on those parties

entitled to service under ECF Procedure 12(b) or otherwise is attached

hereto as Exhibit “4”.

                          Jurisdiction and Venue

     6.    This Court has jurisdiction over the matter pursuant to

28 U.S.C. §§ 157 and 1334.

     7.    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

     8.    The Trustee brings this motion pursuant to 11 U.S.C. § 363,

Fed. R. Bankr. P. 6004 and L.B.R. 9014-1 (E.D.M.).

                                Background

     9.    Brandon Heitmann (“Debtor”) filed his Voluntary Petition

for Relief under Chapter 13 of the United States Bankruptcy Code on

February 29, 2024.

     10.   The case was converted to Chapter 7 on February 25, 2025.

     11.   Douglas S. Ellmann is the trustee of the bankruptcy estate

of the Debtors in this Chapter 7 case (the “Trustee”).




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     12.    Property of the bankruptcy estate includes the following

items (the “Assets”) listed by the Debtor in Schedule A/B filed on March

15, 2024:

            a.    2019 GMC 2500 (subject to a lien securing a loan

balance of approximately $15,000 as of the case conversion– see Claim

5-1 for terms of loan);

            b.    2020 GMC 4500 dump truck;

            c.    20-foot enclosed Look trailer;

            d.    1995 Econoline van;

            e.    Toro Dingo 1000;

            f.    1995 box truck;

            g.    various household goods and furnishings;

            h.    various equipment for sports and hobbies;

            i.    two firearms;

            j.    clothes; PS4 and video games; personal computer;

refrigerator and contents;

            k.    machinery, tools and equipment including a shipping

container and equipment trailer.




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     13.   The Debtor has claimed exemptions in many of the Assets.

His wife, Amanda Heitmann, has agreed to purchase from the Trustee

the non-exempt value of the Assets. The Trustee has agreed to sell to

Amanda Heitmann the non-exempt value of the Assets, subject to the

Debtor’s exemptions. According to the liquidation analysis prepared by

the Debtor (Attachment 1 to his chapter 13 plan (ECF # 22, pages 11-

13)), the non-exempt value of the Assets, net of the vehicle lien, is

$14,125. The Trustee believes, based upon his research, that this figure

is substantially accurate. The Trustee reviewed photographs of the

Assets to assess their nature and condition and conducted research into

values of the larger items such as the motor vehicles and power

equipment. The smaller items mostly have no sale value. Further, the

plan valuation not appear to take into consideration the possible

ownership interest of Mrs. Heitmann in the GMC 2500 pickup truck,

which could further diminish the value to the estate of the Assets. Mrs.

Heitmann is listed on the certificate of title as a co-owner.

     14.   This sale is in the best interest of the estate because it will

result in the realization by the estate of a fair value of non-exempt

value of the Assets with a significantly lower transactional cost than



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would be incurred were the Trustee to liquidate the Assets by auction,

private sale, or other means. An auction or private sale would require

that the Trustee or his agent take possession of, transport, store and

prepare the Assets for sale. Such a sale would involve advertising

expenses and a sale commission or other compensation to a broker or

auctioneer. Litigation might be required were Mrs. Heitmann to not

consent to the sale of the GMC 2500 pickup truck. These costs would

consume a substantial portion of the sale value. The Trustee believes

that the sale proposed by this motion will maximize the value to the

estate of the Assets net of the expenses of sale.

     WHEREFORE, Douglas S. Ellmann, Trustee, respectfully

requests that the Court enter an order granting this motion.

                                     Respectfully submitted,

                                     MORRIS & MORRIS
                                     ATTORNEYS, P.L.L.C.

                                     By:   /s/ Thomas R. Morris
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